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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF FLORIDA

   UNITED STATES OF AMERICA,              )         Case No. 23-cr-80101- CANNON
                                          )
                     Plaintiff,           )
                                          )
   v.                                     )
                                          )
                                          )
   WALTINE NAUTA, and                     )
   CARLOS DE OLIVEIRA,                    )
                                          )
                     Defendants.          )


     DEFENDANTS’ EMERGENCY MOTION TO PRECLUDE THE GOVERNMENT
    FROM ISSUING A PURPORTED SPECIAL COUNSEL REPORT CONTRAVENING
   THIS COURT’S DISMISSAL ORDER AND PREJUDICING DEFENDANTS’ PRETRIAL
     RIGHTS; AND DEFENDANTS’ REQUEST FOR A HEARING ON THE MOTION




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   I.     INTRODUCTION

          Despite this Court’s concluding that Smith is unconstitutionally appointed and funded, and

   despite ongoing proceedings against Defendants Waltine Nauta and Carlos De Olivera, Special

   Counsel Smith, in defiance of this Court’s rulings, is determined to have the final word by pushing

   forward with issuing and transmitting a final report under 28 C.F.R. § 608(c) (the “Final Report”)

   which Attorney General Garland is certain to make immediately public. These Defendants will

   irreparably suffer harm as civilian casualties of the Government’s impermissible and contumacious

   utilization of political lawfare to include release of the unauthorized Report. The Final Report

   relies on materials to which Smith, as disqualified special counsel, is no longer entitled access—

   making his attempt to share such materials with the public highly improper.

          This Court’s authority to regulate the participants and attorneys in this matter and to

   preserve the authority of its orders and the Court’s control of the proceedings compels the granting

   of this emergency motion to preclude this imminent act of defiance of the Court’s authority by the

   Government. The Defendants request an immediate hearing on this motion, at which they will

   establish the impropriety of unchecked release; the scope of the resulting prejudice; and the

   specific materials contained in the Report for which release is impermissible. Even if any version

   of a Final Report were to be transmitted and released—and the Defendants maintain no such

   release would be warranted—the Defendants are at the very least entitled to a hearing to

   demonstrate why certain materials should remain protected. The Defendants request that this

   Court enter an Order to preclude Smith from transmitting the Final Report or taking any other

   action related to it—including sharing it with other persons; editing it; or accessing materials on

   which it relies—until this Court resolves this emergency motion.

          The Final Report promises to be a one-sided, slanted report, relying nearly exclusively on

   evidence presented to a grand jury and subject to all requisite protections—and which is known to


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   Smith only as a result of his unconstitutional appointment—in order to serve a singular purpose:

   convincing the public that everyone Smith charged is guilty of the crimes charged. But Nauta’s

   and De Oliveira’s criminal cases are not over; the appeal of this Court’s dismissal order by Smith

   is still pending. The Government notably continued briefing the appeal even following the

   dismissal of the appeal as to President Trump. There remains the threat of future criminal

   proceedings as to Nauta and De Oliveira, and those proceedings will be irreversibly and

   irredeemably prejudiced by dissemination of the Final Report. As the Government knows, the

   continued operation of the protective order in this case will make the one-sided impermissible

   Final Report even more unfairly prejudicial; Defendants are strictly precluded form refuting the

   Report. The Final Report is meant to serve as a Government verdict against the Defendants

   contrary to all criminal justice norms and constitutional guideposts.

           Critically, the Government never sought a stay of this Court’s rulings as to the

   impermissibility of the Special Counsel appointment and his actions in regard to this prosecution.

   The Government never sought clarification of Fed. R. Crim. P. 6(e)(2)(B)’s prohibition of

   disclosure of grand jury materials by persons not authorized to act as government counsel in the

   matter, with limited exceptions that clearly do not apply to government attorneys found to have no

   authority to act in the case. Given the invalidity of his purported status under the Appointments

   and Apportionment Clauses, the invalidly appointed Special Counsel lacks authority to write a

   grand jury report, to file a report, to share information about the report, or to issue a report.

           The filing of such a report, by an unauthorized person, is clearly improper in this context

   and will cause grave harm given the pendency of criminal proceedings, now on appeal, at counsel

   Smith’s own insistence. Issues of disclosure and use of materials by the Government are matters

   that this Court assumed jurisdiction over when the parties briefed constitutional and privilege

   issues that remain, by virtue of the dismissal that is now on appeal, unresolved (if not effectively

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   decided against the Government). The filing of the Final Report, by an unauthorized Special

   Counsel, would necessarily implicate the very same unresolved Fourth, Fifth, and Sixth

   Amendment issues and extensive issues of attorney-client and other privileges, that counsel Smith

   lost any authority to even take a position on for the Government. The Final Report would

   constitute an abuse of such constitutional and privilege violations, all of which remain pending in

   the event of a reversal of the dismissal order. Such sidestepping by the Government of pending

   constitutional and related issues by revelation and misuse of such matters—including any content

   of the Final Report that may, as is anticipated, unreasonably and prejudicially disparage defense

   counsel in their handling of the case—would not only adversely affect any further criminal

   proceedings, tainting the jury pool, but would render defense of the case unreasonably difficult

   and cast a pall on the fairness of the criminal process. See S.D. Fla. L.R. 77.2(a) (proscribing a

   lawyer’s release of information or opinion for anticipated public dissemination in connection with

   pending litigation where such dissemination is reasonably likely to interfere with a fair trial or

   otherwise prejudice the due administration of justice).

          This Court need not tolerate this prejudice, which is unconstitutional and which violates

   the Local Rules. And it certainly does not need to tolerate such prejudice when it stems directly

   from the unconstitutionally funded acts of an unconstitutionally appointed individual whose

   purported authority stems directly from unlawful regulations. The Final Report itself is also

   inconsistent with other constitutional, statutory, and regulatory provisions, further illustrating why

   it must not be released. Indeed, its release would directly infringe on Nauta’s and De Oliveira’s

   Fifth Amendment due process rights, taking on the status of a public form of an invalid new

   indictment, replete with unfairly prejudicial assertions of alleged offenses going well beyond any

   assertions in the indictment and other public filings. This Court should prevent that constitutional

   infringement by immediately enjoining the United States, Attorney General Garland, the

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   Department of Justice (“DOJ”), Smith, and all their officers, agents, and employees (together, the

   “Government”) from issuing the Final Report.

          Immediate relief is necessary because there is every reason to believe that the Government

   will issue the Final Report within the next few days. Thus, Defendants respectfully request that

   this Court treat this motion as an Emergency Motion under Local Rule 7.1(d)(1) and request a

   ruling by January 10, 2025.

   II.    FACTUAL BACKGROUND

          A.      Smith’s unconstitutional appointment and funding.

          On November 18, 2022, Attorney General Garland issued Order No. 5559-2022 appointing

   Smith, “an attorney from outside the United States Government, to serve as Special Counsel . . . .”

   Doc. 672, at 6–7. The Special Counsel Regulations, codified at 28 C.F.R. §§ 600.1–600.10,

   provide for his appointment, authority, and oversight. See Office of Special Counsel, 64 Fed. Reg.

   37,038 (July 9, 1999). “Smith was not nominated by the President or confirmed by the President.”

   Doc. 672, at 7. Instead, the Appointment Order pointed to 28 U.S.C. §§ 509, 510, 515, 533. Id.

          In due course, Defendants filed a motion to dismiss based on “the unlawful appointment

   of Special Counsel Jack Smith, in violation of the Appointments Clause and the Appropriations

   Clause.” Doc. 326, at 1; see Doc. 672, at 5 n.1. On July 15, 2024, the Court ruled in Defendants’

   favor. See Doc. 672 (the “Dismissal Order”). As this Court correctly determined: (1) the statutes

   cited in the Appointment Order “as purported authorization for his appointment” do not vest “the

   Attorney General with authority to appoint a Special Counsel like Smith,” id. at 22; see also id. at

   19–53; (2) Smith is at least an inferior officer within the meaning of the Appointments Clause, id.

   at 67–81 & n. 60; and (3) because there was no law authorizing Smith’s appointment, he could not

   be funded by the Indefinite Appropriation. Id. at 85–89.

          On July 17, 2024, Smith filed his notice of appeal. Doc. 673. On November 25, 2024,


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   Smith asked the Eleventh Circuit to dismiss the appeal in this case as to defendant Trump. The

   Eleventh Circuit granted Smith’s request. Order, United States v. Trump, No. 24-12311 (11th Cir.

   Nov. 26, 2024), Doc. 81-2. The appeal as to Nauta and De Oliveira is still pending, albeit with

   Smith attempting to relinquish control. On December 30, 2024, the Special Counsel moved to

   withdraw from the appeal, asserting it had “referred” the case to the U.S. Attorney for the Southern

   District of Florida. See Docket, United States v. Trump, No. 24-12311 (11th Cir.), Docs. 83, 84.

          B.      The imminent Final Report.

                  1.      Smith’s preparation of the Final Report.

          Despite losing in court and having no valid appointment, Smith is determined to continue

   litigating this case in the court of public opinion. In early December, news reports indicated that

   Smith intends “to submit to the Justice Department a report summarizing the results of his dual

   investigations into President-elect Trump.” Breanne Deppisch, Special Counsel Jack Smith

   Required to Submit Trump Findings to DOJ Before Leaving. What Happens Next?, FOX NEWS

   (Dec. 7, 2024), https://www.foxnews.com/politics/jack-smith-submit-trump-findings-doj-before-

   leaving-what-happens-next. In response, counsel for Defendants and President Trump reached out

   to a member of the Special Counsel’s Office, J.P. Cooney. Counsel were told the Special Counsel’s

   Office would afford the meager courtesy of allowing hard-copy review of the Report at the Special

   Counsel’s office with provision of comments due before 2:00 p.m. on January 6. (President Trump,

   a former party to this case, has submitted a letter to the Justice Department further explaining the

   impropriety of the Special Counsel’s actions. See Exhibit A, attached.) Counsel were not

   permitted to bring electronic devices into the reviewing room, and the Office declined to make the

   Report available to out-of-town Florida counsel anywhere other than in the Special Counsel’s D.C.

   office (either shortly before or during a significant snowstorm). D.C. counsel for De Oliveira was

   able to review the Report on Saturday, January 4, and D.C. counsel for Nauta did so yesterday,


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   Sunday, January 5.      Counsel’s limited-access review of the draft Report revealed a one-sided

   narrative arguing that the Defendants committed the crimes charged in this case.

                   2.      Garland will inevitably release the Final Report to the public.

           The Final Report will go to Attorney General Garland, who then can authorize public

   release of the Final Report. See 28 C.F.R. § 600.9(e). There is every reason to believe he will do

   so as fast as possible. First, he “has opted to release the reports from two other special counsels

   whose investigations concluded during his tenure.” Deppisch, Special Counsel Jack Smith

   Required to Submit Trump Findings to DOJ Before Leaving. What Happens Next?, FOX NEWS

   (Dec. 7, 2024), https://www.foxnews.com/politics/jack-smith-submit-trump-findings-doj-before-

   leaving-what-happens-next. Moreover, Garland released those reports quickly.1

           The review deadline Smith’s team gave Defendants’ attorneys—providing for review only

   between January 3 and January 6—reflects that public release is imminent. Underscoring that is

   the close cooperation that has existed between Smith and his team and Garland and the DOJ—a

   cooperation mandated by the Special Counsel Regulations, see 28 C.F.R. § 600.7(a), and proven

   by the Special Counsel’s saying in open court that the positions he takes are taken “on behalf of

   the Justice Department, representing the United States,” Transcript of Oral Argument at 110:13–

   15, Trump v. United States, 603 U.S. 593 (2024) (No. 23-939).

                   3.      The need for emergency relief.

           As the time frame above shows, relief is warranted immediately. Smith gave Defendants

   and President Trump a very brief window in which to review the Final Report. That window


   1
     In releasing the report of Special Counsel Robert Hur, Garland said that as to “each Special Counsel who
   has served since I have taken office, I am committed to making as much of the Special Counsel’s report
   public as possible.” Letter from Merrick B. Garland, Att’y Gen., to Sen. Richard Durbin et al. (Feb. 7,
   2024), https://www.justice.gov/sco-hur/media/1337886/dl?inline “Hur provided Garland his report on
   February 5, 2024, and Garland made it public as soon as the White House finished its privilege review”
   three days later.           Letter from Merrick B. Garland, Att’y Gen. (Feb. 8, 2024),
   https://www.justice.gov/storage/20240208aggarlandletter.pdf.

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   expires this week. It is thus fair to assume that once that window expires, the Report soon

   thereafter will be transmitted to Garland and publicly released days afterward. That is within seven

   days of this motion. Thus, for Defendants to receive meaningful relief, they need a ruling by

   January 10, 2025, and their request qualifies as an emergency motion. See S.D. Fla. L.R. 7.1(d)(1).

   III.   ARGUMENT

          The requested injunction is necessary to prevent Special Counsel Smith from releasing the

   Report in direct and flagrant violation of: this Court’s order disqualifying the Special Counsel;

   Fed. R. Crim. P. Rule 6(e) (governing grand jury secrecy); and Local Rule 77.2 (governing release

   of information in criminal and civil proceedings). Imbued in these rules are principles of

   fundamental fairness, designed to ensure a defendant’s Fifth Amendment right to a fair trial. The

   criminal proceeding against the Defendants is very much still pending, and to allow former Special

   Counsel Smith to effectively try this case to the media—after his involvement therein has been

   deemed unlawful and unconstitutional by this Court—would be highly prejudicial and highly

   improper. Enjoining the release of the Final Report is necessary to protect these Defendants’ due

   process rights. At the very least, the Defendants are entitled to injunctive relief pending the

   conclusion of any and all proceedings in this matter.

          Releasing the Final Report is also improper because this is not Smith’s case anymore; he

   has been disqualified by a court of law and is now proceeding as a rogue actor with a personal and

   political vendetta against the Defendants. Allowing him to release privileged materials and

   information to the public at large does great harm to these Defendants, who remain at risk of

   prosecution and against whom the United States is actively pursuing prosecution. In any other

   case, this Court would have the authority to issue an order to stop him, and the same is true in this

   case. Our system simply does not allow a disqualified prosecutor to withdraw from an unlawful

   appeal only then to embark on a media mudslinging tour through the issuance of a highly detailed


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   and one-sided press release describing the events charged in the superseding indictment and the

   Government’s theory of prosecution as it relates to those events.

           Smith’s latest tactic, to release a Final Report after being removed from the case, reflects

   his ongoing and continuous effort to violate this Court’s rulings and to disregard the Court’s

   authority. In this instance, that effort has severe implications for Nauta and De Oliveira, civilian

   criminal defendants entitled to a fair trial like anyone else in our system. This Court has previously

   recognized the Special Counsel’s efforts to evade court rules and to selectively communicate

   privileged material to the public. See Transcript of May 8, 2024, Hearing (DE:533) at 67 (court

   commenting on government’s selective release of grand jury material and noting that it would like

   a coherent thought process that is objective). The former Special Counsel’s approach is anything

   but objective. And the integrity of future proceedings2 are threatened by release of the Report.

           Finally, release should be enjoined because, as this Court has already determined—and as

   is binding on the Government—Smith is unconstitutionally appointed and unconstitutionally

   funded. Issuing the Final Report compounds the constitutional error of his appointment, while

   also independently violating statutory and regulatory authority and effecting an impermissible

   evasion of this Court’s authority. Any of these reasons would be enough to justify an injunction;

   considered cumulatively, they overwhelmingly demonstrate the need for relief or at the very least

   a hearing where Nauta can establish protection of specific materials.

           A. The Final Report threatens the integrity of future potential proceedings, Local
           Rule 77.2, and Fed. R. Crim. P. Rule 6(e), and thus must be enjoined.

           An order precluding the transmission of the Final Report to the Attorney General Garland

   is necessary to preserve the integrity of potential future proceedings and is required by this Court’s



   2
     Defendants firmly believe this Court’s Dismissal Order reached the correct legal conclusion and will be
   affirmed. Until that happens, or until the Government drops the appeal that was unfounded in the first
   instance, this Court must act to protect against the risk of prejudice in future proceedings.

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   local rules. Release of material that was before the grand jury also reflects disregard of Fed. R.

   Crim. P. 6(e). Violation of these rules in the manner contemplated here will interfere with the

   Defendants’ due process rights. A hearing before this Court to address these matters while

   maintaining the status quo is essential to preservation of the Defendants’ fundamental due process

   rights.

             S.D. Fla. Local Rule 77.2(a) provides that attorneys may not “release or authorize the

   release of information or opinion which a reasonable person would expect to be disseminated by

   means of public communication, in connection with pending or imminent criminal litigation with

   which the lawyer or the firm is associated, if there is a reasonable likelihood that such

   dissemination will interfere with a fair trial or otherwise prejudice the due administration of

   justice.” Smith, his team, Garland, and the DOJ all fall squarely within the ambit of this rule.

   Ethical and related rules also bar the Report. Justice Manual § 1-7.100; see also 32 C.F.R. § 776.47

   (Unless “necessary to inform the public of the nature and extent of the trial counsel’s actions and

   that serve a legitimate law enforcement purpose, refrain from making extrajudicial comments that

   have a substantial likelihood of heightening public condemnation of the accused.”); Florida Bar

   Rule 4-3.6 (Trial Publicity) and 4-3.8 (Special Responsibilities of a Prosecutor). Justice

   Department attorneys are required to follow local ethical rules. See 28 U.S.C. 530B.

             Any “reasonable person” plainly “would expect” the Final Report “to be disseminated by

   means of public communication.” And that is an understatement. The Final Report would not just

   be disseminated by means of publication but shared widely. Media outlets would be quick to send

   push notifications to millions of phones across the country; news station talk shows would book

   pundits and talking heads to give reactions and purported “legal analysis” on events about which

   they in fact know only Smith’s position; and the details of the Government’s case as portrayed

   only by the disqualified Special Counsel would blaze across headlines and social media. The mass

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   media would become a mass microphone for Smith and his political allies, left to report only the

   narrative advanced by Smith based on materials as to which the Defendants are not permitted to

   address, and as to which Smith is no longer permitted access based on this Court’s prior Order.

   The resulting prejudice would be immediate and uncontainable. Indeed, the news media is already

   rife with reports about the release of the Final Report. See, e.g., Katherine Faulders & Peter

   Charalambous, Special Counsel Jack Smith Withdraws From Appeal of Classified Docs Case

   Against Trump’s Co-Defendants, ABC NEWS (Dec. 30, 2024), abcnews.go.com/US/special-

   counsel-jack-smith-withdraws-appeal-classified-docs/story?id=117209773; Jesus Mesa, Jack

   Smith Plans to Release Report Before Donald Trump Is Sworn In: CNN, NEWSWEEK (Nov. 26,

   2024),       https://www.newsweek.com/jack-smith-deadline-final-donald-trump-report-1991904.

   Media reporting on this case has been so ubiquitous that the Court could take judicial notice of it.

            All of this prejudice would occur in the face of additional litigation that is “pending or

   imminent,” Local Rule 77.2(a), “in the sense that if ” the Eleventh Circuit reversed on appeal, “the

   case would go back as a viable one from the very date of its filing,” Pettway, 411 F.2d at 1003.

   The adversarial nature of our court system is fundamental to due process. In this instance, that

   adversarial system could not be captured in public discussion where the protective order still binds

   Nauta and De Oliveira and their counsel, thereby preventing them from fully responding or

   attempting to prevent further unwarranted prejudice. Trials must take place in courtrooms, not in

   newsrooms. Having lost his place in the courtroom, Smith’s attempt to release the report reflects

   an intent to try this case in public, thus destroying the fundamental right to a fair trial.

            “The very wo[r]d ‘trial’ connotes decisions on the evidence and arguments properly

   advanced in open court”—not in the court of public opinion, where rules to protect constitutional

   rights do not apply. Bridges v. State of Cal., 314 U.S. 252, 270 (1941). “Legal trials are not like

   elections, to be won through the use of the meeting-hall, the radio, and the newspaper.” Id. Having

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   come face-to-face with the unconstitutional nature of his appointment, that is precisely what Smith

   seeks to do here: Try his case in the press, taint the jury pool, and worse yet, taint the legal

   soundness of this Court’s decisions. The Supreme Court has ruled that “no one [is] be punished

   for a crime without ‘a charge fairly made and fairly tried in a public tribunal free of prejudice,

   passion, excitement, and tyrannical power.’” Sheppard v. Maxwell, 384 U.S. 333, 350 (1966).

   Smith’s planned Final Report—now that he is unshackled from due process requirements that

   restrained him as a government actor—would engender the very prejudice, passion, and

   excitement and be an exercise of the tyrannical power that our court system is designed to insulate

   against.

           In 1966—that is, around the time that “hot type” of the press began to give way to “cold

   type”3—the Supreme Court wrote that “[g]iven the pervasiveness of modern communications and

   the difficulty of effacing prejudicial publicity from the minds of the jurors, the trial courts must

   take strong measures to ensure that the balance is never weighed against the accused.” Id. at 362.

   If that was true in 1966, the principle carries even more weight today; indeed, most printing presses

   have shuttered as the industrial model of news delivery has been replaced by the instantaneous

   delivery system enabled by the internet, computers, and smartphones.                      These modern

   developments of course affect the constitutional balancing test, and the Supreme Court has made

   clear that public dissemination must yield to the due process rights of the accused.

           Release of the Final Report would plainly and obviously “interfere with a fair trial or

   otherwise prejudice the due administration of justice.” S.D. Fla. L.R. 77.2(a). The Report involves

   extensive, one-sided discussions about the conduct alleged in the indictment. The issue is

   compounded by the inflammatory manner in which the report discusses Nauta’s and De Oliveira’s


   3
    “Hot type” was the form of printing technology used for the first half of the 20th century, which involved
   molten lead being poured into brass molds to create a line of type. “Cold type” refers to phototypesetting.

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   former co-defendant, President Trump—further betraying the political motivation behind Smith’s

   planned disclosure. Throughout this litigation, the Government has tied Nauta and De Oliveira to

   President Trump, referring to them as “Co-Conspirators” in the indictment. Doc. 85, at 4. There

   is no way at this point to separate Nauta and De Oliveira from President Trump, so that even if the

   Final Report focuses on the President-elect (again betraying its political motivations), the effect

   will be to stir up prejudice against the Defendants before the public. The political motivations here

   cannot be overlooked: Smith is rushing to release the Final Report prior to a change in control of

   the Executive Branch. Smith and his political allies are of course disappointed that his appointment

   was deemed unlawful, and that President Trump won the 2024 election. That, however, is not a

   basis to deny the Defendants due process of law—and indeed, the timing of Smith’s actions reveals

   the impropriety of them. The court system functions independently of political aims.

          Political considerations certainly do not justify the pretrial public release of evidence that

   has not been made public and is not or may not be admissible at trial. The Final Report contains

   such evidence. This includes grand jury materials, the disclosure of which is prohibited under

   Rule 6(e)—and aside from certain material that falls squarely under Rule 6(e), the Final Report is

   flush with material that violates the spirit of the Rule. Grand jury materials are entitled to the

   utmost secrecy; indeed, the Supreme Court “consistently ha[s] recognized that the proper

   functioning of our grand jury system depends upon the secrecy of grand jury proceedings.”

   Douglas Oil Co. of California v. Petrol Stops Northwest, 441 U.S. 211, 218 (1979). “Since the

   17th century, grand jury proceedings have been closed to the public, and records of such

   proceedings have been kept from the public eye.” Id. at 218 n. 9 (citation omitted). “The rule of

   grand jury secrecy was imported into our federal common law and is an integral part of our

   criminal justice system.” Id. (citing Costello v. United States, 350 U.S. 359, 362 (1956); United

   States v. Johnson, 319 U.S. 503, 513 (1943)). “Federal Rule Crim. P. 6(e) codifies the requirement

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   that grand jury activities generally be kept secret.” Id. Smith, through his planned release of the

   Final Report, seeks to evade this grand jury secrecy requirement by relaying to the public sensitive

   and privileged grand jury materials, by not specifying that they were, in fact, presented to the grand

   jury. Protecting these grand jury materials in this instance is not only important to protect the

   integrity of the jury, but also essential to protect the Defendants’ due process rights. The

   impropriety of Smith’s actions in this respect is heightened by the fact that Smith only has

   knowledge of such privileged information via his unconstitutional and unlawful appointment.

   Even if Smith once properly had access to grand jury materials, 4 he is no longer permitted to access

   them, much less disclose them at large.

             Smith has proposed recommending redactions of direct quotes from the grand jury but has

   notably not proposed redacting information provided to the grand jury in direct response to a grand

   jury subpoena—for example, communications subpoenaed and taken out of context. This further

   illustrates the need for a hearing before this Court to determine what material contained in the

   Final Report cannot be released, at least during the pendency of the criminal case. A hearing is

   particularly warranted because, though Smith has recommended certain redactions, his team has

   not invited any further redactions by the defense and has, apparently, ignored the record history of

   this Court’s repeated efforts to carefully identify matters that should remain sealed to protect

   constitutional rights, privileges, and the interest of the public in a fair adjudicative process. Smith

   has not initiated a process by which the defense can properly or effectively assert objections to

   release of specific material, and then, to the extent there is disagreement, seek resolution in court.

   Indeed, the defense has not even been provided any more than a limited scope of access to the

   Report prior to its anticipated release; counsel was permitted review in person over a two-business-



   4
       See Fed. R. Crim. P. 6(e)(2)-(3) (identifying those who typically have access to grand jury materials).

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   day period without the aid of electronic devices to compare data to its privileged or grand jury

   source. This further illustrates the need for a hearing at which this Court can address relevant

   disclosure considerations. A hearing is also warranted because Smith and his team are not

   ultimately in charge of what is redacted before the Final Report is released to the public; that

   responsibility lies with the Attorney General’s Office. This Court should hold a hearing to

   determine what content in the Report must be blocked from release and to determine whether

   Smith has the authority to release any kind of Final Report, given this Court’s prior ruling on his

   appointment and appropriations for his activities.

          There are several identifiable and concrete ways in which release of the Final Report will

   prejudice the defense and the right to a fair trial. In addition to the general prejudice and poisoning

   of the jury pool that will result from release, due to the inevitable and widespread public

   dissemination discussed above, release is improper because Smith’s Report relies on materials that

   are or have been the subject of active litigation relating to privilege, the Fourth Amendment, and

   other constitutional rights over which this Court has exercised, and may continue to exercise,

   jurisdiction. Smith of course no longer has the authority to litigate such issues. His attempt to

   release the Final Report is consistent with his pattern of manipulating his purported authority to

   remain in the case after disqualification—reflected in his recent (and apparently tactical) “referral”

   of the case to the local United States Attorney’s Office. All of these actions demonstrate evasion

   of this Court’s authority and disregard for the rule of law and the rules governing criminal

   proceedings. Release of the Final Report is yet another example of this evasion—and perhaps the

   worst yet, as the resulting harm will be irreversible.

          “[T]he primary constitutional duty of the Judicial Branch [is] to do justice in criminal

   prosecutions . . . .” United States v. Nixon, 418 U.S. 683, 707 (1974). “Accordingly, courts must

   take steps to protect the integrity of the criminal justice process.” United States v. Trump, 88 F.4th

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   990, 1003 (D.C. Cir. 2023). “Due process demands that ‘the conclusions to be reached in a case

   will be induced only by evidence and argument in open court, and not by any outside influence,

   whether of private talk or public print.’ ” Id. at 1004 (quoting Sheppard, 384 U.S. at 351 (quoting

   another source)). Courts have a duty to “ ‘prevent the prejudice’ to the trial process ‘at its

   inception,’ ” id. at 1004 (quoting Sheppard, 384 U.S. at 363))—a duty this Court can fulfill by

   issuing the requested injunction here.

          The imminent release of the Final Report is also an imminent violation of both the court

   rules and the constitutional rights of Nauta and De Oliveira to a fair criminal proceeding. That

   justifies an order prohibiting publication of the Final Report until the appellate process and any

   subsequent proceedings in the case are over.

          B. The Government cannot lawfully issue the Final Report.

          Smith’s attempt to prejudice potential future proceedings in this case is particularly

   improper as it compounds the unconstitutional and unlawful underpinnings of the Final Report,

   which cannot be released even upon conclusion of the case due to the unconstitutional nature of

   the appointment. “When an executive acts ultra vires, courts are normally available to reestablish

   the limits on his authority.” Chamber of Commerce of U.S. v. Reich, 74 F.3d 1322, 1328 (D.C. Cir.

   1996); see also Am. Sch. of Magnetic Healing v. McAnnulty, 187 U.S. 94, 108 (1902).

                  1.      The Final Report cannot be produced by an unconstitutionally
                          appointed and funded Special Counsel.

                          a.      This Court’s findings in the Dismissal Order are binding.

          This Court held in the Dismissal Order that: no statute authorizes Smith’s appointment;

   Smith is thus an inferior officer whose appointment violates the Appointments Clause, U.S. C ONST.

   art. II, § 2, cl. 2; and, accordingly, the continued funding of Smith’s activities and office violates




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   the Appropriations Clause, U.S. CONST. art. I, § 9, cl. 7. Those holdings are binding here under

   principles of law of the case and of estoppel.

                            b.     The unconstitutional nature of Smith’s appointment and
                                   funding bar issuance of the Final Report.

           The constitutional defects this Court identified relating to Smith’s appointment and funding

   bar him from producing the Final Report, and thus bar Attorney General Garland from producing

   it, for three reasons:

           i.      Smith cannot provide the Final Report because of his unconstitutional
                   appointment

           A precondition to publication of the Final Report is for Smith to “provide” it to the Attorney

   General. 28 C.F.R. § 600.8(c). Smith, however, cannot do that because he was not constitutionally

   appointed, as this Court has already determined. See Doc. 672, at 19–52.5

           Because Smith is unconstitutionally appointed, an injunction barring release of the Final

   Report is justified for two reasons. First, and most obviously, the Appointment Order is unlawful.

   It purports to appoint an officer of the United States without statutory authority. The Appointment

   Order is thus void. “An agency . . . literally has no power to act—including under its regulations—

   unless and until Congress authorizes it to do so by statute.” FEC v. Cruz, 596 U.S. 289, 302 (2022)

   (quotations omitted). And because the Appointment Order is void, Smith is not the Special

   Counsel and cannot use the information he has unlawfully acquired to write the Final Report or

   claim the ability, under 28 C.F.R. § 600.8(c), to write the Report.

           Second, the injunction flows from what this Court has already noted: the proper remedy

   for “a ‘Government actor’s exercise of power’ ” “is invalidation of the ultra vires action.” Doc.




   5
    The Government did not contest that Smith was at least an inferior officer. See id. at 2. Any attempt to
   claim otherwise here would fail; indeed, this Court has already said as much. See id. at 81 n. 60
   (addressing such an argument from amici Landmark Legal).

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   672, at 82 (quoting Collins v. Yellen, 594 U.S. 220, 258 (2021)). Smith’s creation of the Final

   Report, just as much as this prosecution, will flow “from his defective appointment” and is thus

   an “unlawful exercise[ ] of executive power.” Id. at 83–84. Indeed, the Final Report must explain

   “the prosecution or declination decisions reached by the Special Counsel.” § 600.8(c). Such

   decisions are “the special province of the Executive Branch,” Trump v. United States, 603 U.S.

   593, 620 (2024) (quotations omitted), of which Smith, as an unconstitutionally appointed

   prosecutor, is not a part. Moreover, to gather the information, Smith used authority granted to him

   under the Appointment Order. See Ex. A, at 1–2 (granting investigatory and prosecutorial authority

   to Smith); see also §§ 600.4(a), 600.6. Because he had no right to do so, his actions in gathering

   that information are ultra vires and thus void; accordingly, there is nothing for Smith to Report.

           By issuing the Final Report, Smith would be unlawfully acting as a prosecutorial authority.

   A disqualified prosecutor cannot, especially while a case is still pending, issue a memorandum

   discussing prosecutorial decisions he was unauthorized to make in the first instance. The Final

   Report’s attempted transmission to Attorney General Garland and presumed release is again just

   another instance of Smith’s unlawfully acting as a super prosecutor. There are significant

   separation of powers issues at stake as well: An unlawfully appointed prosecutor cannot respond

   to a disqualification order by disclosing at large privileged material, the release of which will infect

   the ongoing criminal proceeding with bias, prejudice, and sensationalism.

           ii.     The Final Report cannot be released because it is the product of unlawful Special
                   Counsel regulations

            The Special Counsel Regulations are unlawful. The regulations supplied Garland the

   purported authority to appoint Smith as “an outside Special Counsel . . . .” 28 C.F.R. § 600.1(b).

   The Special Counsel regulations claim, as authority, 5 U.S.C. § 301 and 28 U.S.C. §§ 509, 510,

   and 515–19. See 64 Fed. Reg. 37,042. For the reasons this Court has explained, 28 U.S.C. §§ 509,



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   510, and 515 do not authorize the Special Counsel Regulations. See Doc. 672, at 23–41. The other

   statutory provisions do not fill the gap. Section 516 reserves “the conduct of litigation in which

   the United States, an agency, or officer thereof is a party, or is interested, and securing evidence

   therefor, . . . to officers of the Department of Justice, under the direction of the Attorney General.”

   Section 517 authorizes the Attorney General to send “[t]he Solicitor General, or any officer of the

   Department of Justice” to any court “to attend to the interests of the United States in a suit . . . .”

   Neither gives the Attorney General appointment authority. Far from an authorization, § 518 is a

   limitation on who may represent the United States in court—“the Attorney General and the

   Solicitor General” “[e]xcept when the Attorney General in a particular case directs otherwise.”

   Section 519, as the Court has noted, see Doc. 672, at 30–32, is also about the Attorney General’s

   supervisory power. Even further afield is 5 U.S.C. § 301, which permits heads of departments to

   “prescribe regulations for the government of his department, the conduct of its employees, the

   distribution and performance of its business, and the custody, use, and preservation of its records,

   papers, and property.”

          Not one of those statutes authorizes the Attorney General to appoint officers of the United

   States, and so none of them can be considered congressional authorization for the Special Counsel

   Regulations. The regulations are thus void. See, e.g., Cruz, 596 U.S. at 302. And thus everything

   Smith does—including creating the Final Report—is void and should be enjoined.

          iii.    The preparation of the Final Report reflects a misuse of appropriated funds

          [F]or many of the same reasons” that Congress has not authorized Smith’s appointment, it

   “has not authorized the appropriation of money to be drawn for the expenses of his office.” Doc.

   672, at 4. “The Appropriations Clause dictates that ‘[n]o Money shall be drawn from the Treasury,

   but in Consequence of Appropriations made by Law.’” Id. at 86 (quoting U.S. CONST. Art. I, § 9,

   cl. 7). “This ‘straightforward and explicit command ... means simply that no money can be paid

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   out of the Treasury unless it has been appropriated by an act of Congress.’” Id. (quoting OPM v.

   Richmond, 496 U.S. 414, 424 (1990)).

           “Since its inception, … Smith’s office has been funded by” the Indefinite Appropriation.

   Id. at 85–86. By its terms, the Indefinite Appropriation authorizes the expenditure of public funds

   by Smith only if Smith is an “independent counsel appointed pursuant to … other law.” 101 Stat.

   1329. As with the phrase “by Law” in the Appointments Clause, the phrase “other law” means

   statutory law. See Doc. 672, at 87 (“Both sides agree that ‘other law’ … is the collection of statutes

   cited in the Appointment Order.”). Because no statute authorizes Smith’s appointment, he is not

   an “independent counsel appointed pursuant to … other law.” Id. Thus, he cannot be funded by

   the Indefinite Appropriation. “When Congress has enacted a legislative restriction” like that,

   federal courts should “enjoin DOJ from spending funds” in violation of those restrictions.

   McIntosh, 833 F.3d at 1172 (discussing a limit on the use of funds for criminal prosecutions); see

   Gen. Land Office v. Biden, 722 F. Supp. 3d 710, 743, 745 (S.D. Tex. 2024) (enjoining the

   government from spending funds for items besides what they were appropriated for); see also In

   re Aiken County, 725 F.3d 255, 259 (D.C. Cir. 2013) (“[T]he President may not decline to follow

   a statutory mandate or prohibition simply because of policy objectives.”).

                  2.      Issuing the Final Report would violate the Presidential Transition Act,
                          the Executive Vesting Clause, and the Special Counsel regulations.

                          a.      The Presidential Records Act & Executive Vesting Clause bar
                                  release of the Final Report

           There is every indication the Government will issue the Final Report during the Presidential

   transition. That violates the Presidential Transition Act, see 3 U.S.C. § 102 note, and the imminent

   vesting of the Executive power in President Trump on January 20, 2025, see U.S. CONST. art. II,

   § 1, cl. 1.

           The Presidential Transition Act’s purpose is “to promote the orderly transfer of the


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   executive power in connection with the expiration of the term of office of a President and the

   inauguration of a new President.” 3 U.S.C. § 102 note (§ 2 of the Act). “Any disruption” of the

   transition “could produce results detrimental to the safety and well-being of the United States and

   its people.” Id. And thus “all officers of the Government” are “to avoid or minimize disruptions

   that might be occasioned by the transfer of the executive power, and otherwise to promote orderly

   transitions in the office of President.” Id.

          Disruption is a constitutional issue because “[t]he transition period insures that the

   candidate will be able to perform effectively the important functions of his or her new office as

   expeditiously as possible.” Definition of Candidate Under 18 U.S.C. § 207(j), 24 Op. O.L.C. 288,

   292 (2000). Release of the Final Report will disrupt the President-Elect’s ability to govern once

   he takes office. Like an indictment, the Final Report threatens “public stigma and opprobrium”

   and so could “compromise the President’s ability to fulfill his constitutionally contemplated

   leadership role with respect to foreign and domestic affairs.” A Sitting President’s Amenability to

   Indictment and Criminal Prosecution, 24 Op. O.L.C. 222, 246 (2000). That is a burden on the

   President’s constitutional responsibilities, and “a proper balancing of constitutional interests in the

   criminal context dictates” instructs that the Final Report should not now issue. Id. at 249; see id.

   at 249–51 (discussing reasons). Such a burden must not be imposed, especially as a result of a

   prosecution deemed unlawful by an Article III court. The Final Report threatens the proper

   balancing of constitutional interests, and is a fortiori inconsistent with the Presidential Transition

   Act.

                          b.      Issuing the Final Report is inconsistent with the Special Counsel
                                  Regulations

          Under § 600.8—which is “applicable to” Smith, Ex. A, at 2—the Final Report is provided

   only “[a]t the conclusion of the Special Counsel’s work.” § 600.8(c) (emphasis added). But



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   Smith’s work has not concluded; the appeal as to Nauta and De Oliveira continues. To be sure,

   Smith and his team have moved to withdraw from that appeal. They have not withdrawn from

   their representation of the Government in this Court—nor have they sought a stay in this Court or

   clarification of Rule 6 constraints.

          The motion to withdraw from the appeal is a transparent attempt to manufacture a

   “conclusion” to Smith’s work without actually concluding it.            The ordinary meaning of

   “conclusion” is “[t]he close or last part; the end or finish.”         Conclusion, AM. HERITAGE

   DICTIONARY (5th ed. 2022), https://ahdictionary.com/word/search.html?q=conclusion. Until the

   prosecution of Nauta and De Oliveira ends, Smith’s work has not concluded.

          C. This Court has the power to provide the requested relief.

          This Court acts well within its authority in providing the requested relief. This is not an

   issue of discretionary authority; rather, the court rules cited above—as well as the Supreme Court

   cases addressing the due process right to a fair trial—explicitly contemplate courts’ taking such

   actions to prevent prejudice.          The All Writs Act, and the Court’s ancillary jurisdiction

   and supervisory power, provide ample authority for the Court to prevent these injustices. See,

   e.g., United States v. DiBernardo, 775 F.2d 1470, 1475-76 (11th Cir. 1985) (“Federal courts may

   exercise their supervisory powers to remedy violations of recognized rights, to protect the integrity

   of the federal courts, and to deter illegal conduct by government officials.”).

          The All Writs Act authorizes the issuance of “all writs necessary or appropriate in aid of

   [its] respective jurisdiction[ ] and agreeable to the usages and principles of law.” 28 U.S.C.

   § 1651(a). The Act applies “not only [to] ongoing proceedings, but potential future proceedings,

   as well as already-issued orders and judgments.” Klay v. United Healthgroup, Inc., 376 F.3d 1092,

   1099 (11th Cir. 2004) (footnotes omitted). “A court may grant a writ under this act whenever it is

   ‘calculated in [the court’s] sound judgment to achieve the ends of justice entrusted to it.’ ” Id.


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   (quoting Adams v. United States, 317 U.S. 269, 273 (1942)). Thus, it “empowers a federal court

   to employ procedures necessary to promote the resolution of issues in a case properly before it,”

   ITT Cmty. Dev. Corp. v. Barton, 569 F.2d 1351, 1359 (5th Cir. 1978)6.

          This Court also has “ancillary jurisdiction . . . ‘to adjudicate and determine matters

   incidental to the exercise of its primary jurisdiction over a cause under review.’ ” United States v.

   McIntosh, 833 F.3d 1163, 1172 n.2 (9th Cir. 2016) (citing and quoting United States v. Sumner,

   226 F.3d 1005, 1013–15 (9th Cir. 2000)). That includes enforcement of its local rules as part of

   its power “to function successfully, that is, to manage its proceedings, vindicate its authority, and

   effectuate its decrees.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 380 (1994). It

   also includes prohibiting the federal government from violating constitutional and statutory limits

   on its authority, such as limits on the spending of funds. See McIntosh, 833 F.3d at 1172–72.

          District courts can issue injunctions, like the one requested here, that “preserve the status

   quo and protect [their] proceedings in all germane matters,” including by addressing “events

   transpiring subsequent to the” order on appeal. EEOC v. Locals 14 & 15, Int’l Union of Operating

   Eng’rs, 438 F. Supp. 876, 880 (S.D.N.Y. 1977). That is because the case is “ ‘pending’ . . . in the

   sense that if ” the Eleventh Circuit reverses, “the case would go back as a viable one from the very

   date of its filing,” Pettway v. American Cast Iron Pipe Co., 411 F.2d 998, 1003 (5th Cir. 1969).

   This preservation of the status quo allows this Court to provide relief notwithstanding the

   Government’s improper and unlawful appeal of the Dismissal Order. The Court maintains

   jurisdiction to “act in aid of the appeal,” Shewchun v. United States, 797 F.2d 941, 942 (11th Cir.

   1986), or over “collateral matters not affecting the questions presented on appeal,” Weaver v.

   Florida Power and Light Co., 172 F.3d 771, 773 (11th Cir. 1999). “[A]ctions that a district court


   6
    Fifth Circuit precedent issued prior to October 1, 1981, is binding in this Circuit. Bonner v. City of
   Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).

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   may take in aid of the appellate court’s jurisdiction include preserving the status quo pending

   appeal.” 16A Charles A. Wright et al., Federal Practice and Procedure § 3949.1 (Sept. 2024

   update); see Newton v. Consol. Gas Co. of N.Y., 258 U.S. 165, 177 (1922) (“Undoubtedly, after

   appeal the trial court may, if the purposes of Justice require, preserve the status quo until decision

   by the appellate court.”); Pugach v. Dollinger, 280 F.2d 521, 522–23 (2d Cir. 1960) (Friendly, J.,

   in chambers) (same). Indeed, the federal appellate rules expressly contemplate that district courts

   consider such status quo injunctions in the first instance. FED. R. APP. P. 8(a)(1)(C). (Although

   the Defendants have also sought relief in the court of appeals by separate filing today, this Court

   maintains its authority over matters of enforcement of its orders, including the contempt power.)

          Moreover, this relief is collateral to the merits of Smith’s appointment and funding issues

   on appeal. Like any other order “restraining parties’ speech during the pendency of a criminal

   case,” this request is “separate from the merits,” United States v. Trump, 88 F.4th 990, 1000 (D.C.

   Cir. 2023), and will not require the Court to exercise “control over those aspects of the case

   involved in the appeal.” Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982).

                                             CONCLUSION

          The impending issuance by the Special Counsel of the Final Report is in direct violation of

   this Court’s Dismissal Order, which effectively disqualified the Special Counsel as

   unconstitutionally appointed and funded. Disclosure of the Final Report would constitute an

   affront to this Court and a contumacious action, and is an improper attempt to circumvent the

   Court’s authority and prosecute in the court of public opinion on the basis of the same purported

   authority that this Court ruled the Special Counsel lacks. The Special Counsel’s use of materials

   is still being litigated with respect to core issues of privilege, Fourth Amendment, and other

   constitutional rights over which this Court has exercised jurisdiction. Moreover, the protective

   order which still applies to Nauta and De Oliveira prevents them from fully responding or


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   attempting to protect themselves from further prejudice. The protective order also relates to Rule

   6(e) of the Federal Rules of Criminal Procedure, over which this Court retains control in a criminal

   prosecution. By placing itself above the Court and the Court’s rulings, the Special Counsel seeks

   to override orderly procedures pursuant to Rule 6, including to determine if the Special Counsel is

   authorized to release any materials from the grand jury proceedings eventually presided over by

   this Court, the parameters of which the government has never sought clarification, and Local Rule

   77.2, proscribing the dissemination of information or opinion in connection with pending litigation

   that could interfere with a fair trial or otherwise prejudice the due administration of justice.

          For those reasons, Defendants Nauta and De Oliveira respectfully request that the Court

   issue an Order barring the United States and its officers and agents, including but not limited to

   Smith and members of the Special Counsel’s team, Garland, and the DOJ from issuing the Final

   Report until this case has reached a final judgment and appellate proceedings are concluded. The

   Defendants further respectfully request that this Court grant the Defendants’ request for a hearing

   on this emergency matter. Finally, the Defendants request that this Court enter an Order to preclude

   Smith from taking any action related to the Final Report pending resolution of this emergency

   motion—including but not limited to transmitting it; sharing it with other members of the team;

   editing it; or accessing the protected materials and evidence upon which it is based.

                  REQUEST FOR HEARING AND GOVERNMENT POSITION

          The Defendants request a hearing. A hearing is particularly warranted because this motion

   identifies highly sensitive and protected matters that Smith seeks to share widely with the public.

   The need for sealing, and for continued protection of the relevant rights and interests of the parties,

   is best addressed with a more fully developed record. The release of the Final Report implicates

   the Defendants’ due process rights, which should not be infringed without the Defendants having

   the opportunity to be heard on the matter. The Final Report also includes several specific


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   categories of information subject to protection, and these issues are best addressed live at a hearing.

   The Defendants estimate that the time required for the hearing is three to four hours.

          Undersigned counsel conferred telephonically and via electronic correspondence with

   opposing counsel prior to the filing of this motion. To date, the Government has not consented to

   the relief requested by the motion. The Government advises that it considers the meet and confer

   process to be ongoing. However, Defense Counsel requested a reasonable opportunity for the

   Court to consider the relief requested in the instant motion before the Final Report was transmitted

   to Attorney General Garland and the Government was unwilling to commit to the same.

   Specifically, the Government advised that it would connect with Defense Counsel tomorrow, that

   it was skeptical of any authority of the Court to bar the transmission of the Final Report to Attorney

   General Garland, and that it could make no representation about the amount of time between the

   next conferral between Defense Counsel and the Government and when the Final Report would

   be transmitted to Attorney General Garland. Accordingly, because of the emergency nature and

   substantial importance of the matter, the issues are ripe for resolution. To the extent that the

   Government amends its position upon further review and consideration, Defendants will

   immediately advise the Court.

                                CERTIFICATION OF EMERGENCY

          After reviewing the facts and researching applicable legal principles, we certify that this

   motion in fact presents a true emergency (as opposed to a matter that may need only expedited

   treatment) and requires an immediate ruling because the Court would not be able to provide

   meaningful relief to a critical, non-routine issue after the expiration of seven days. I understand

   that an unwarranted certification may lead to sanctions.




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          Dated: January 6, 2025             Respectfully submitted:


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                                Exhibit A
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                                                                                                    TODD BLANCHE
                                                                                         ToddBlanche@blanchelaw.com
                                                                                                      (212) 716-1250

                                                     January 6, 2025

Via Email
The Honorable Merrick Garland
Attorney General of the United States
c/o Brad Weinsheimer
Associate Deputy Attorney General

       Re:     Draft “Final Report” By Jack Smith

Dear Attorney General Garland:

       We write on behalf of President Trump to demand that Smith terminate all efforts toward the
preparation and release of this report (the “Draft Report”).1

        As you know, Courts in Florida and the District of Columbia have now dismissed both of Jack
Smith’s failed cases against President Trump. Rather than acknowledging, as he must, President Trump’s
complete exoneration, Smith now seeks to disseminate an extrajudicial “Final Report” to perpetuate his
false and discredited accusations. Consistent with the bad-faith crusade that Smith executed on behalf of
the Biden-Harris Administration from the moment he was appointed, we were only permitted to review
the Draft Report in person in the District of Columbia, including prohibitions on the use of any outside
electronic devices in the room where the Draft Report was made available. Smith’s team likewise
demanded, in advance of any review, that we delete prior discovery productions, preventing us from
reviewing any of those underlying documents cited in the Draft Report. Nevertheless, it is clear, as has
been the case with so many of the other actions of Smith and his staff, that the Draft Report merely
continues Smith’s politically-motivated attack, and that his continued preparation of the Report and efforts
to release it would be both imprudent and unlawful.

        First, Smith lacks authority under our Constitution to issue a report because he was not validly
appointed, and the plain terms of the permanent indefinite appropriation that he has pillaged for more than
$20 million clearly do not apply to his politically-motivated work. The preparation and release of a report,
therefore, would extend and perpetuate Smith’s violations of the Appointments Clause and the
Appropriations Clause.

        Second, the Draft Report violates fundamental norms regarding the presumption of innocence,
including with respect to third parties unnecessarily impugned by Smith’s false claims. Releasing the
report to the public without significant redactions (that would render its release meaningless) would
violate prohibitions on extrajudicial statements by prosecutors and Rule 6(e). This is particularly
problematic with respect to ongoing proceedings relating to Waltine Nauta and Carlos De Oliveira, as
well as others who Smith and his staff falsely characterize as co-conspirators in the Draft Report.


1
 Should these demands be improperly rejected, contrary to law, we respectfully request that this letter
be appended to and addressed in any report by Smith that is issued to the public.



                                               Exhibit A
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        Third, preparing a report and releasing it to the public would violate the Presidential Transition
Act and the Presidential immunity doctrine. The Act prohibits all officers and those acting as such,
including the Attorney General and Smith, at least in his own view of himself, from interfering with the
ongoing transition process. Presidential immunity, which Smith conceded required pre-inauguration
dismissal of his prosecutions, likewise prohibits criminal processes, including disclosures of any
prosecutorial reports or statements, that would exacerbate stigma and public opprobrium surrounding the
Chief Executive and otherwise divert from the time and attention that is necessary to complete the
transition and run the County. Accordingly, releasing a report regarding Smith’s failed and abandoned
election-interference efforts would violate the Act and Presidential immunity.

         Finally, the release of any confidential report prepared by this out-of-control private citizen
unconstitutionally posing as a prosecutor would be nothing more than a lawless political stunt, designed
to politically harm President Trump and justify the huge sums of taxpayer money Smith unconstitutionally
spent on his failed and dismissed cases. Under such circumstances, releasing Smith’s report is obviously
not in the public interest—particularly in light of President Trump’s commanding victory in the election
and the sensitive nature of the ongoing transition process.

        Accordingly, because Smith has proposed an unlawful course of action, you must countermand
his plan and remove him promptly. If Smith is not removed, then the handling of his report should be
deferred to President Trump’s incoming attorney general, consistent with the expressed will of the People.
Finally, should you disagree with the positions set forth below, we respectfully request notice of that
decision prior to the unlawful release of any report so that we can pursue injunctive and other relief to
protect the rights of President Trump, others unfairly implicated by Smith’s work, and the people of this
great Nation who elected President Trump to run the government and put an end to the weaponization of
the justice system.

          I.      Background

       You are no doubt familiar with the history of the unethical election-interference and lawfare by
the Special Counsel’s Office, as you have publicly commented on some of those efforts while they were
ongoing. This letter concerns Smith’s most recent improper activities.

        During the week of December 9, 2024, we learned from members of the media that Smith was
preparing a report, which would include a purported analysis relating to classified information at issue in
the dismissed Florida prosecution. We were surprised to learn of such a plan because, among other
reasons, Smith had insisted up to that point that his work was not concluded, Smith and his Office refused
to disclose details regarding this alleged analysis prior to the dismissal of his Florida prosecution against
President Trump, and the Biden-Harris Administration has suggested that they wish to facilitate an orderly
and collegial transition process.

        On December 11, 2024, we contacted a supervisor with the Special Counsel’s Office to express
concerns about reports we were hearing from the press. We asked whether the Office was preparing a
report and, if so, whether we would be allowed to review it prior to completion. Initially, Smith’s position
was that: (1) we would only be permitted to access a draft of the report in Washington, D.C. between
December 23 and December 29, 2024, the week of Christmas; (2) we would only be permitted to take
handwritten notes during our review; and (3) any comments or objections to the draft would have to be

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submitted in writing by the close of business on December 29, 2024. Aside from all counsel living outside
D.C. and planning on spending time with family that week, as Smith and his team knew, Smith’s proposal
afforded zero opportunity for President Trump to assist counsel in reviewing and preparing any response
to the report, given the irrational conditions imposed. Apparently working under a self-imposed deadline,
Smith’s team informed us, implausibly, that permitting defense review of Smith’s unlawful Draft Report
during the first week of January 2025 would be “too late to allow us to complete our work.” Subsequently
Smith walked back those now clearly false claims and permitted defense counsel to review the two-volume
Draft Report in a conference room at Smith’s office between January 3 and January 6, 2025, without
allowing counsel to access the Internet or use their own electronic devices while in the room with
supposedly sensitive documents that the press has known about for weeks by virtue of Smith’s leaks.

         II.      Preparation And Release Of A Report Would Violate Existing Law

        Preparation and public release of a report by Smith would violate the Constitution and existing
law, including the Appropriations and Appointments Clauses, the Special Counsel Regulations, the
Presidential Transition Act, and the Presidential immunity doctrine. Collectively, these considerations
distinguish the circumstances surrounding the release of reports by prior Special Counsels. Here, release
of an unlawful report would not “comply with applicable legal restrictions” or “be in the public interest.”
28 C.F.R. § 600.9(c); see also id. § 600.7(a) (“A Special Counsel shall comply with the rules, regulations,
procedures, practices and policies of the Department of Justice.”). Therefore, you must countermand
Smith’s proposed course of action, id. § 600.7(b), and he should be removed for “dereliction of duty” and
“good cause,” § 600.7(d).

         Smith was not validly appointed, and Congress did not provide funding for his improper mission.
No statute authorized you to deploy a private attorney against President Trump and others, and Smith
functioned as a principal officer acting without the necessary Senate confirmation. In addition, the DOJ
permanent indefinite appropriation Smith relied upon was—and still is—inapplicable. The only judge to
have examined the particulars of Smith’s appointment reached these conclusions in an extremely thorough
and well-reasoned opinion. See generally United States v. Trump, 2024 WL 3404555, at *46 (S.D. Fla.
July 15, 2024). On appeal, Smith’s prosecutors failed to identify any meritorious reason for questioning
Judge Cannon’s treatment of these issues, and then abandoned the appeal as to President Trump.
Therefore, Smith lacks authority to issue a report regarding his activities while masquerading as a
prosecutor, and his Office lacks authority to expend any public funds in furtherance of preparing or issuing
such a report. Indeed, because Smith abandoned the 11th Circuit appeal as to President Trump, Judge
Cannon’s decision is a final judgment with issue-preclusive effect on these issues. See, e.g., Bravo-
Fernandez v. United States, 580 U.S. 5, 7-8 (2016) (cleaned up) (“In criminal prosecutions, as in civil
litigation, the issue-preclusion principle means that when an issue of ultimate fact has once been
determined by a valid and final judgment, that issue cannot again be litigated between the same parties in
any future lawsuit.”); Bobby v. Bies, 556 U.S. 825, 834 (2009) (same).

        Preparation and release of a report would also be improper under the Special Counsel Regulations.
Those Regulations only call for “Closing documentation,” in the form of a “confidential report,” to be
prepared “[a]t the conclusion of the Special Counsel’s work.” 28 C.F.R. § 600.8(c) (emphasis added). In
light of the violations of the Appointments Clause and the Appropriations Clause, Smith has no lawful
“work” to conclude. Moreover, by Smith’s own repeated admission, Smith has not concluded his mission.


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Rather, Presidential immunity based on the national mandate arising from President Trump’s
overwhelming victory in the election has made it impossible for Smith to proceed, and rightly so.

        Smith’s representations in the District of Columbia regarding his dismissed prosecution of
President Trump reinforce these points and make clear that no “Closing documentation” is warranted. 28
C.F.R. § 600.8(c). Smith wrongly relied on the claim that Presidential immunity is “temporary,” which
is not the case, to ask that the charges against President Trump only be dismissed “without prejudice.”2
The plain implication of Smith’s position, which Judge Chutkan adopted, is that he does not believe his
work targeting President Trump has reached its “conclusion.” 28 C.F.R. § 600.8(c). Thus, taking a
contrary position in order to justify preparation of one last long-winded, inaccurate, and unlawful smear
of the President-elect and others would violate the Special Counsel Regulations.

        Public release of a report by Smith would also disrupt the ongoing transition process and violate
the Presidential Transition Act. “[T]he orderly transfer of the executive power is one of the most important
public objectives in a democratic society. The transition period insures that the candidate will be able to
perform effectively the important functions of his or her new office as expeditiously as possible.”
Memorandum from Randolph D. Moss, Assistant Attorney General, OLC, Definition of “Candidate”
Under 18 U.S.C. §207(j), 2000 WL 33716979, at *4 (Nov. 6, 2000) (cleaned up). “One of the top priorities
of any presidential administration is to protect the country from foreign and domestic threats. While a
challenge at all times, the country is especially vulnerable during the time of presidential transitions . . . .”3
Thus, the transition process is “an integral part of the presidential administration,” in the “national
interest,” and part of President Trump’s “public function,” as he prepares to govern. Memorandum from
Randolph D. Moss, Assistant Attorney General, OLC, Reimbursing Transition-Related Expenses Incurred
Before The Administrator Of General Services Ascertained Who Were The Apparent Successful
Candidates For The Office Of President And Vice President, 2001 WL 34058234, at *3 (Jan. 17, 2001).

        Congress passed the Presidential Transition Act to protect these critical functions. The purpose of
the Act is “to promote the orderly transfer of the executive power in connection with the expiration of the
term of office of a President and the inauguration of a new President.” 3 U.S.C. § 102 note, § 2. “Any
disruption” of the transition “could produce results detrimental to the safety and well-being of the United
States and its people.” Id. Consequently, under the Act, “all officers of the Government”—including the
Attorney General and, according to his claims, Smith—are required to “conduct the affairs of the
Government for which they exercise responsibility and authority” in a manner that “promote[s] orderly
transitions in the office of President.” Id. This includes, inter alia, “tak[ing] appropriate lawful steps to
avoid or minimize disruptions that might be occasioned by the transfer of the executive power.” Id.

         Creating and releasing a prejudicial report to the public would violate these commands by giving
rise to a media storm of false and unfair criticism that President Trump would be required to address while
preparing to assume his Article II responsibilities. Equally problematic and inappropriate are the draft’s

2
    ECF No. 281 at 6, United States v. Trump, No. 23 Cr. 257 (D.D.C. Nov. 25, 2024).
3
 Center for Presidential Transition, Presidential Transitions are a Perilous Moment for National Security
(Aug. 16, 2023), https://presidentialtransition.org/reports-publications/presidential-transitions-are-a-
perilous-moment-for-national-security.

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baseless attacks on other anticipated members of President Trump’s incoming administration, which are
an obvious effort to interfere with upcoming confirmation hearings, and Smith’s pathetically transparent
tirade about good-faith efforts by X to protect civil liberties, which in a myriad other contexts you have
claimed are paramount.

        A one-sided, improper report by Smith, particularly if publicly released, would also violate the
Presidential immunity principles that Smith has conceded foreclose him from proceeding against President
Trump. Indeed, footnote 1 of “Volume 1” of the Draft Report concedes that Smith has brazenly included
“conduct for which the Supreme Court later held [President] Trump to be immune from prosecution,” and
subsequently further highlights the incredible hubris that has clouded the judgment of Smith and his staff
from the outset by falsely claiming that the Supreme Court’s decision is ambiguous with respect to
holdings and reasoning that Smith simply does not like. Based on guidance from OLC—which Smith’s
staff subsequently informed us that the Office improperly failed to document in any way, in violation of,
inter alia, DOJ policy regarding the handling of exculpatory information—Smith has acknowledged that
Presidential immunity is “categorical,” and that it applies while President Trump is the President-elect
prior to his inauguration.4 A public report by Smith would unnecessarily and unjustly add to the
inappropriate “peculiar public opprobrium” that has resulted from Smith’s unlawful activities thus far.
Trump v. United States, 603 U.S. 593, 613 (2024). OLC explained previously that such “public stigma
and opprobrium” could “compromise the President’s ability to fulfill his constitutionally contemplated
leadership role with respect to foreign and domestic affairs.” Memorandum from Randolph D. Moss,
Assistant Attorney General, OLC, A Sitting President’s Amenability to Indictment and Criminal
Prosecution, 2000 WL 33711291, at *19 (Oct. 16, 2000). “[T]he stigma arising . . . from the need to
respond to such charges through the judicial process would seriously interfere with [the President’s] ability
to carry out his constitutionally assigned functions.” Id. at *22. The release of a report would also pose
an unconstitutional risk of diverting President Trump’s “personal time and energy, and [would] inevitably
entail a considerable if not overwhelming degree of mental preoccupation.” Id. at *25 (emphasis in
original). A “single prosecutor” such as Smith should not, and must not, be afforded “the practical power
to interfere with the ability of a popularly elected President to carry out his constitutional functions.” Id.
at *19. “The Framers’ design of the Presidency did not envision such counterproductive burdens on the
vigor and energy of the Executive.” Trump, 603 U.S. at 614 (cleaned up).

        In sum, the same legal principles and logic that required Smith to dismiss his prosecutions of
President Trump require that his activities be terminated without further action. Preparation and release
of “Closing documentation” would violate the Constitution and existing law, harm the activities of the
transition, and weaken the federal government that you have sworn an oath to support. The collective
application of these circumstances make this situation entirely unlike any prior Special Counsel report.
Preparation and release of a report is therefore not “in the public interest.” 28 C.F.R. § 600.9(c). To the
contrary, the course of action Smith proposes would further solidify the well-founded perception of
partisanship created by Smith’s violation of DOJ policies in connection with decisions based on his
ultimately failed attempt to influence the outcome of the 2024 Presidential election. For all of these
reasons, you must countermand Smith’s proposed course of action, remove him, and stop the preparation
and/or dissemination of the Draft Report.

4
 ECF No. 281 at 6, United States v. Trump, No. 23 Cr. 257 (D.D.C. Nov. 25, 2024) (“[T]he Department’s
position is that the Constitution requires that this case be dismissed before the defendant is inaugurated.”).

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        III.      Smith’s Report Violates The Presumption of Innocence

        The presumption of innocence is “the undoubted law, axiomatic and elementary.” Coffin v. United
States, 156 U.S. 432, 453 (1895). It is “vital and fundamental” to our Constitutional system, id. at 460,
and “its enforcement lies at the foundation of the administration of our criminal law,” id. at 453; see also
Cool v. United States, 409 U.S. 100, 104 (1972) (holding violation of defendant’s “constitutionally rooted
presumption of innocence” required reversal).

        “The presumption serves as a reminder to the jury that the prosecution has the burden of proving
every element of the offense beyond a reasonable doubt,” United States v. Starks, 34 F.4th 1142, 1158
(10th Cir. 2022), and thus, may be “extinguished only upon the jury’s determination that guilt has been
established beyond a reasonable doubt,” Mahorney v. Wallman, 917 F.2d 469, 471 n.2 (10th Cir. 1990)
(emphasis in original) (collecting cases).

        Consistent with these bedrock principles, the Justice Manual prohibits prosecutors from publicly
declaring a defendant’s guilt prior to a jury verdict, or otherwise disseminating statements inconsistent
with the presumption of innocence. Justice Manual §§ 1.7.500; 1-7.600; 28 C.F.R. § 600.7(a) (“A Special
Counsel shall comply with the rules, regulations, procedures, practices and policies of the Department of
Justice.”). Rather, prosecutors must limit their statements to “[t]he substance of the charge, as contained
in the complaint, indictment, information, or other public documents” and any “release issued before a
finding of guilt should state that the charge is merely an accusation, and the defendant is presumed
innocent until proven guilty.” Justice Manual § 1.7.500. Moreover, “DOJ personnel should refrain from
disclosing” inter alia, “[a]ny opinion as to [a] defendant’s guilt” or any other “[o]bservations about a
defendant’s or party’s character” “except as appropriate in the proceeding or in an announcement after a
finding of guilt.” Justice Manual § 1-7.610 (emphasis added).

        These restrictions ensure that the Department’s statements do not “prejudice the rights of a
defendant; or unfairly damage the reputation of a person.” Justice Manual § 1-7.100; see also 32 C.F.R.
§ 776.47 (“Except for statements that are necessary to inform the public of the nature and extent of the
trial counsel’s actions and that serve a legitimate law enforcement purpose, refrain from making
extrajudicial comments that have a substantial likelihood of heightening public condemnation of the
accused.”); D.C. Bar Rule 3.8 (same).

         The Draft Report violates every one of these core requirements. Despite Smith’s decision to
dismiss his cases against President Trump, and his complete failure to obtain a “jury’s determination that
guilt has been established beyond a reasonable doubt,” Mahorney, 917 F.2d at 471 n.2 (emphasis in
original), his Draft Report repeatedly, and falsely, claims that President Trump, Carlos De Oliveria,
Waltine Nauta, and others have committed crimes and otherwise engaged in purported “criminal conduct.”
For example, Volume I of the Draft Report falsely asserts, without any jury determination, that President
Trump and others “engaged in an unprecedented criminal effort,” was “the head of the criminal
conspiracies,” and harbored a “criminal design.” Draft Report, Vol. I at 2, 68, 69. These false accusations
of criminality, which Smith again utterly failed to prove in Court, repeat throughout Volume I. See, e.g.,
id. at 3, 52, 60, 64, 67, 88, 108. Likewise, Volume II asserts, without any supporting verdict, “that Mr.
Trump violated multiple federal criminal laws,” and that he and others engaged in “criminal conduct.”
Vol. II at 60, 88; see also, e.g., id. at 89, 121. Moreover, the Draft Report makes these allegations despite

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the ongoing prosecutions of DeOliveira and Nauta, which would cause gravely unconstitutional prejudice
if released.

       Neither the Constitution nor applicable regulations or ethical rules allow Smith to make public,
extrajudicial claims that purport to reflect conclusive determinations of guilt backed by the imprimatur of
DOJ. It is the role of the jury, not the Special Counsel, to weigh the facts and determine guilt. Other
Special Counsels have recognized this foundational fact. For example, Special Counsel Hur carefully
cabined his observations to what some “jurors could,” “might,” “may well,” or, at most, “would likely”
conclude. See, e.g., Hur Report at 4, 5, 9, 10, 204, 206-211, 214, 216, 218, 220, 233, 235, 240-42, 246-
47. At all points, Hur’s focus was on whether “jurors assessing Mr. Biden’s guilt and intent w[ould] be
persuaded,” id. at 241, and not on the Special Counsel’s unilateral views or opinions regarding Biden’s
obvious guilt.

        Likewise, Special Counsel Mueller expressly declined to “apply an approach” to his report “that
could potentially result in a judgment that the President committed crimes,” where, as here, “no charges
c[ould] be brought.” Mueller Report, Vol. II at 2. In Special Counsel Mueller’s view, “[f]airness concerns
counseled against” any kind of public accusation because:

        [t]he ordinary means for an individual to respond to an accusation is through a speedy and public
        trial, with all the procedural protections that surround a criminal case. An individual who believes
        he was wrongly accused can use that process to seek to clear his name. In contrast, a prosecutor’s
        judgment that crimes were committed, but that no charges will be brought, affords no such
        adversarial opportunity for public name-clearing before an impartial adjudicator.

Id. Moreover, Special Counsel Mueller warned that a public disclosure of a prosecutor’s unilateral
judgment would only heighten these dangers. Id. (“[T]he possibility of the report’s public disclosure and
the absence of a neutral adjudicatory forum to review its findings counseled against potentially
determining ‘that the person’s conduct constitutes a federal offense.’ Justice Manual § 9-27.220.”). For
these reasons, Special Counsel Mueller’s report “did not draw ultimate conclusions about the President’s
conduct,” id. at 182, but “[i]nstead for each of the relevant actions investigated, . . . set[] out evidence on
both sides of the question. . . .” Ltr. from Attorney General William Barr at 3 (Mar. 24, 2019).

          To the extent Special Counsel Smith possesses any authority to draft a report (and he does not) he
should have applied the same principles as Special Counsels Hur and Mueller, which the Constitution, the
Justice Manual, and applicable regulations and ethical rules all require. That is—providing a dispassionate
description of the relevant facts, free of any gratuitous commentary regarding President Trump’s conduct,
let alone direct accusations of guilt. Smith failed to do so. Instead, he chose to construct the Draft Report
as a partisan weapon, designed to “unfairly damage the reputation” of President Trump, Justice Manual §
1-7.100, in a manner calculated to “heighten[] public condemnation,” 32 C.F.R. § 776.47, while providing
“no . . . adversarial opportunity for public name-clearing before an impartial adjudicator,” Mueller Report,
Vol. II at 2. Accordingly, the Department should not, under any circumstances, permit Smith to complete
or submit the Draft Report in this form or otherwise disseminate it to the public.




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        IV.       Preparation And Release Of A Report Would Serve No Valid Purpose

        There are many practical and prudential reasons to obey the law here. Preparation and release of
a report by Smith would not “be in the public interest.” 28 C.F.R. § 600.9(c).

        In 2023, Smith and his Office levied extremely serious, and entirely false, allegations against
President Trump in two separate cases. Smith has now been forced by the rule of law to dismiss both of
those cases. It would be highly improper and contrary to the public interest—as well as inconsistent with
the reconciliation and public healing process that is necessary following divisive and unconstitutional
actions by Smith—to allow him to create and disseminate yet another document recycling politically
motived and inaccurate claims that the law has forced him to abandon. Indeed, “no legitimate
governmental interest is served by an official public smear of an individual when that individual has not
been provided a forum in which to vindicate his rights.” In re Smith, 656 F.2d 1101, 1106 (5th Cir. 1981).
Smith lacks the credibility that is necessary for such a report to be reliable or valuable to anyone, as his
biased and unlawful approach to these cases has been widely-criticized and discredited from the outset.5
Quite appropriately, he is the subject of an ongoing investigation by the Office of Professional
Responsibility, further diminishing any value from a report.6 Smith’s unlawful plan would reinforce the
“likely prospect of an Executive Branch that cannibalizes itself, with each successive President free to
prosecute his predecessors, yet unable to boldly and fearlessly carry out his duties for fear that he may be
next.” Trump, 603 U.S. at 640. “The enfeebling of the Presidency and our Government that would result
from such a cycle of factional strife is exactly what the Framers intended to avoid.” Id.

         At 1999 hearings relating to the Independent Counsel Act, Ted Olson argued that “the final report
. . . has turned into an excuse to file long exhaustive expositions which rationalize the investigation,” as
well as “offer opinions regarding and/or pronounce judgments on the individuals investigated, and
generally make the Independent Counsel look good.”7 Attorney General Janet Reno pointed out, more
succinctly, that “the price of the final report is often too high.”8 Deputy Attorney General Eric Holder

5
  WSJ Editorial Board, Jack Smith Loses in the People’s Court, WSJ (Nov. 7, 2024, 5:52 PM),
https://www.wsj.com/opinion/donald-trump-prosecutions-jack-smith-fani-willis-alvin-bragg-juan-
merchan-1c68f640; Jonathan Turley, Opinion: Donald Trump just won the greatest jury verdict in
American history, The Hill (Nov. 6, 2024, 10:56 AM), https://thehill.com/opinion/campaign/4976533-
trump-prosecutions-lawfare-end; Elie Honig, So What Happens With All the Cases Against Trump Now?,
N.Y. Mag. (Nov. 8, 2024), https://nymag.com/intelligencer/article/what-will-happen-with-the-charges-
against-trump.html.
6
    Letter from Chairman Jim Jordan to Jeffrey Ragsdale, DOJ OPR (Dec. 4, 2024)
https://www.scribd.com/document/800789357/Judiciary-to-
DOJ?secret_password=vphCtDdh3lHj7mTM5Ib8.
7
 The Future of the Independent Counsel Act: Hearings before the S. Comm. on Governmental Affairs,
106th Cong. 231 (1999) (prepared statement of Theodore B. Olson).
8
 The Future of the Independent Counsel Act: Hearings before the S. Comm. on Governmental Affairs,
106th Cong. 252 (1999) (prepared statement of Attorney General Janet Reno).

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added: “the reporting requirement goes directly against most traditions and practices of law enforcement
and American ideals.”9 Based on this feedback, Congress permitted the Independent Counsel Act to
expire, and DOJ promulgated a reporting regulation that was much more restrictive than its statutory
predecessor.10

        For the quarter century that DOJ has operated under these Regulations, DOJ has not released a
single Special Counsel report concerning any individual who has mounted a successful defense in court,
as President Trump has done with respect to Presidential immunity. For good reason: the Special Counsel
Regulations state that the purpose of a report is to “explain[] the prosecution or declination decisions.” 28
C.F.R. § 600.8(c). When filing and resolving a case in Court, that information, together with the defense’s
responses, becomes part of the public record. An additional, one-sided report, would only sow confusion
and undermine the judicial process.

        Here, Smith has explained himself, and sought unsuccessfully to justify his actions, ad nauseum.
This has included routinely leaking sensitive details regarding the actions of Smith’s Office to the media
in violation of DOJ policy. In October 2024, it was leaked that Smith planned to “pursue his two cases
against Mr. Trump for as long as he has the legal authority to do so—including during the period between
Election Day and the inauguration, when Mr. Trump, if he prevails, would be president-elect.”11 A similar
July 2024 report cited “a person familiar with Mr. Smith’s thinking.”12 As another example, we first
learned from the media, rather than Smith’s Office, that they were considering dismissing the prosecutions
of President Trump.13 And we learned for the first time via private outreach from media sources, rather
than Smith’s Office, that Smith is working on a report.




9
  Reauthorization of the Independent Counsel Statute, Part I: Hearings Before the H. Comm. on the
Judiciary, 106th Cong. 86 (1999) (prepared statement of Deputy Attorney General Eric Holder )
10
  Compare 28 U.S.C. § 594(h)(1)(B) (calling for a “final report . . . setting forth fully and completely a
description of the work of the independent counsel, including the disposition of all cases brought”), with
28 C.F.R. § 600.8(c) (calling for “a confidential report explaining the prosecution or declination decisions
reached by the Special Counsel”).
11
  Maggie Haberman et al., Trump Says He’ll Fire Jack Smith, Special Counsel Who Indicted Him, if He
Wins Again, N.Y. Times (Oct. 24, 2024), https://www.nytimes.com/2024/10/24/us/politics/trump-jack-
smith.html.
12
  Alan Feuer, Special Counsel Is Said to Be Planning to Pursue Trump Cases Past the Election, N.Y.
Times (July 2, 2024), https://www.nytimes.com/2024/07/02/us/politics/jack-smith-trump-charges.html.
13
   Pierre Thomas et al., Special counsel Jack Smith expected to wind down Trump prosecutions: Sources,
ABC News (Nov. 6, 2024, 3:26 PM), https://abcnews.go.com/Politics/special-counsel-jack-smith-
expected-wind-trump-prosecutions/story?id=115571646; Devlin Barrett, Jack Smith Assesses How to
Wind Down Trump’s Federal Cases, Official Says, N.Y. Times (Nov. 6, 2024),
https://www.nytimes.com/2024/11/06/us/politics/doj-trump-federal-cases.html.

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        In addition to the leaks, Smith filed four gratuitous speaking indictments, held a lawless press
conference before the national media, and filed hundreds of pages of briefing in two district courts, two
Courts of Appeals, and the Supreme Court. Smith’s inappropriate 165-page “Motion For Immunity
Determinations,” accompanied by a 1,885-page “Appendix,” is an especially egregious example of
Smith’s proclivity to seize all available opportunities to issue lengthy diatribes attacking President Trump
based on Smith’s biased view of the law and evidence.14 Smith insisted on the filing, which even Judge
Chutkan characterized as “atypical,”15 to further publicize his narrative in the lead-up to the Presidential
election. Smith’s tome was not responsive to a defense motion, had no basis in the Federal Rules of
Criminal Procedure, and violated DOJ’s election-interference policies and practices. See, e.g., Justice
Manual § 9-85.500.16 Having previously insisted on highly restrictive protective orders that prevented
dissemination of discovery, based in part on histrionic, unsupported claims about witness identities, Smith
abandoned those arguments and released the contents of protected reports, grand jury material, and
accounts from thinly-veiled witnesses whom the media immediately identified.

        Under these circumstances, there is no legitimate need for an additional “report” to “explain
[Smith’s] prosecution or declination decisions.” 28 C.F.R. § 600.8(c). His baseless rationales for
prosecution are already fully public. So too is the selective description that his Office prepared of the legal
basis for the motions to dismiss, which Smith’s Office caused OLC not to further memorialize in violation
of the Brady doctrine and DOJ policy. Moreover, the Draft Report goes far beyond merely explaining
Smith’s “prosecution or declination decisions,” deviating instead into extensive and irrelevant discussions
on purported “litigation issues,” including post-indictment immunity litigation and Smith’s violation of
the Department’s political non-interference policies. See Draft Report Vol. I at 107-37. Although Smith
may wish to air his baseless and politically motivated grievances regarding the Constitutional importance
of immunity, and otherwise provide feeble and transparent excuses for his plainly political motivations,
that is not the purpose of a Special Counsel report under 28 C.F.R. § 600.8(c). A report must simply
“explain[]” a Special Counsel’s “prosecution or declination decisions” and nothing more. The Draft
Report violates this core principle.

        The issuance of such a report, in violation of the Constitution, the Transition Act, Presidential
immunity, and DOJ’s own regulations, would exacerbate the irreparable damage that Smith has already
inflicted on DOJ’s reputation for non-partisanship through his repeated violations of DOJ policies about
election interference. As we noted one year ago in opposing Smith’s failed attempt to obtain certiorari
before judgment on Presidential immunity, which the Supreme Court rejected, Smith’s actions “create[]
the compelling appearance of a partisan motivation: To ensure that President Trump . . . will face a
months-long criminal trial at the height of his presidential campaign.” Br. in Opp. to Pet’n for Writ of

14
     ECF No. 252, United States v. Trump, No. 23 Cr. 257 (D.D.C. Oct. 2, 2024).
15
     ECF No. 243 at 2, United States v. Trump, No. 23 Cr. 257 (D.D.C. Sept. 24, 2024).
16
  See also A Review of Various Actions by the Federal Bureau of Investigation and Department of Justice
in Advance of the 2016 Election, U.S. Dep’t of Justice Office of Inspector General (June 2018) at 18 (“[I]n
general, the practice has been not to take actions that might have an impact on an election, even if it’s not
an        election       case        or        something        like      that.”),       available         at
https://s3.documentcloud.org/documents/4515884/DOJ-OIG-2016-Election-Final-Report.pdf.

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Certiorari Before Judgment in United States v. Trump, No. 23-624, at 21 (filed Dec. 20, 2024). Smith’s
nakedly partisan, election-interference motivation was obvious to commentators across the political
spectrum. See id. (citing many sources). “[T]he best traditions of the U.S. Department of Justice … call
for prosecutors to avoid the appearance of election interference in the prosecution of political candidates.”
Id. at 23 (emphasis in original). “[F]ederal prosecutors . . . may never make a decision regarding an
investigation or prosecution, or select the timing of investigative steps or criminal charges, for the purpose
of affecting any election, or for the purpose of giving an advantage or disadvantage to any candidate or
political party.” Id. (citing Justice Manual § 9-27.260). Smith’s latest illegal plan to launch yet another
partisan attack against President Trump, De Oliveira, and Nauta will have the same injurious effect on
DOJ’s reputation if not stopped in its tracks.

         Further, preparing and releasing a report would be improper for the additional reason that Smith
has relied on numerous legal theories that are unprecedented and incorrect as a matter of law. Many of
those issues were the subject of ongoing litigation at the time Smith dismissed the cases. To name a few,
these issues include the lack of statutory authority for Smith’s appointment; Smith’s reliance on official-
acts allegations in both cases in violation of the Presidential immunity doctrine17; Smith’s unlawful theory
under 18 U.S.C. § 1512(c)(2) in violation of Fischer v. United States, 603 U.S. 480 (2024); equal
protection violations, based on selective and vindictive prosecution theories18; the unprecedented and
unlawful raid at Mar-a-Lago; and violations of the Presidential Records Act and NARA’s longstanding
practices under that Act.19 There were also numerous discovery disputes in both cases, including
unresolved motions in the Southern District of Florida regarding Brady obligations, the scope of the
prosecution team, and Intelligence Community holdings, which further call into question the reliability of
Smith’s theories.20 Smith’s Draft Report presents a selective and inaccurate response to only some of
these issues, and then proceeds as if his theories are well-founded and undisputed. Nothing could be
further from the truth.

        Finally, given the status of Smith and his team as the inauguration approaches, using additional
taxpayer resources to prepare, review, and disseminate a report is not a legitimate use of taxpayer funds—
even if there were a valid appropriation here, which there is not. “The Special Counsel’s office has spent
tens of millions of dollars since November 2022, all drawn unconstitutionally from the Indefinite
Appropriation.” United States v. Trump, 2024 WL 3404555, at *46 (S.D. Fla. July 15, 2024). For the
period preceding March 31, 2024, Smith’s Office had used $20 million from a permanent indefinite
appropriation and an additional $16 million from other unspecified “DOJ components.”21 The costs of
Smith’s activities since March 2024 have not yet been released. It is clear, however, that the total figure



17
     ECF No. 324, United States v. Trump, No. 23 Cr. 80101 (S.D. Fla. Feb. 22, 2024).
18
     ECF No. 328, United States v. Trump, No. 23 Cr. 80101 (S.D. Fla. Feb. 22, 2024).
19
     ECF No. 327, United States v. Trump, No. 23 Cr. 80101 (S.D. Fla. Feb. 22, 2024).
20
     ECF No. 262, United States v. Trump, No. 23 Cr. 80101 (S.D. Fla. Jan. 16, 2024).
21
     Special Counsel’s Office, DOJ, Statements of Expenditures, https://www.justice.gov/sco-smith.

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will greatly exceed—by an extraordinarily wide margin—what all of this lawfare was actually worth to
the public, the operations of the government, and the Country as a whole.

                                              *       *        *

        Smith’s proposed plan for releasing a report is unlawful, undertaken in bad faith, and contrary to
the public interest. Smith’s conduct also raises grave concerns under Article II because it unlawfully
encroaches on the Executive authority of the incoming Administration of President Trump to resolve the
issues surrounding Smith’s Office in accordance with President Trump’s commanding national mandate
from the voters. The time has come to put an end to this weaponization of the justice system and move
forward constructively. No report should be prepared or released, and Smith should be removed, including
for even suggesting that course of action given his obvious political motivations and desire to lawlessly
undermine the transition. If you elect to proceed with Smith’s plan, we again respectfully request
(1) notice of such decision prior to any publication of the Draft Report, allowing us to take appropriate
legal action, and (2) that this letter and Smith’s meritless responses to the legal arguments set forth herein
be incorporated into the Report.

                                                       Respectfully Submitted,

                                                       /s/ Todd Blanche / Emil Bove
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                                                       Emil Bove
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                                                        /s/ John Lauro / Gregory Singer
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